     Case: 1:11-cv-04981 Document #: 117 Filed: 09/17/18 Page 1 of 1 PageID #:409



                    IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF ILLINOIS - EASTERN DIVISION


    Deutsche Bank National Trust Company, as Trustee for
    the Registered Holders of New Century Home Equity
    Loan Trust, Series 2005-B, Asset Backed Pass-Through            No. 1:11-cv-04981
    Certificates
                   PLAINTIFF
                          Vs.
    Jesus Sanchez; The Willows of Fox Valley Condominium
    Association; Unknown Owners and Nonrecord Claimants

                                   DEFENDANTS

                           PLAINTIFF’S MOTION FOR ENTRY OF A
                          JUDGMENT FOR FORECLOSURE AND SALE

        NOW COMES the Plaintiff, by and through its Attorneys, Codilis & Associates, P.C., and

in support of its Motion requests that a Judgment for Foreclosure and Sale be entered against all

parties in this matter.

        WHEREFORE, Plaintiff respectfully requests that a Judgment for Foreclosure and Sale be

entered and against all parties for any further relief this Honorable Court deems equitable and just.


                                                      Deutsche Bank National Trust Company, as
                                                      Trustee for the Registered Holders of New
                                                      Century Home Equity Loan Trust, Series
                                                      2005-B, Asset Backed Pass-Through
                                                      Certificates,

                                                      BY: /s/ Daniel C. Walters
                                                      Codilis & Associates, P.C.
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C&A File No. 14-16-01269

NOTE: This law firm is a debt collector.



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